Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 1 of 141 PageID 1398
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 2 of 141 PageID 1399
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 3 of 141 PageID 1400
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 4 of 141 PageID 1401
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 5 of 141 PageID 1402
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 6 of 141 PageID 1403
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 7 of 141 PageID 1404
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 8 of 141 PageID 1405
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 9 of 141 PageID 1406
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 10 of 141 PageID 1407
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 11 of 141 PageID 1408
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 12 of 141 PageID 1409
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 13 of 141 PageID 1410
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 14 of 141 PageID 1411
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 15 of 141 PageID 1412
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 16 of 141 PageID 1413
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 17 of 141 PageID 1414
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 18 of 141 PageID 1415
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 19 of 141 PageID 1416
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 20 of 141 PageID 1417
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 21 of 141 PageID 1418
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 22 of 141 PageID 1419
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 23 of 141 PageID 1420
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 24 of 141 PageID 1421
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 25 of 141 PageID 1422
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 26 of 141 PageID 1423
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 27 of 141 PageID 1424
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 28 of 141 PageID 1425
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 29 of 141 PageID 1426
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 30 of 141 PageID 1427
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 31 of 141 PageID 1428
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 32 of 141 PageID 1429
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 33 of 141 PageID 1430
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 34 of 141 PageID 1431
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 35 of 141 PageID 1432
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 36 of 141 PageID 1433
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 37 of 141 PageID 1434
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 38 of 141 PageID 1435
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 39 of 141 PageID 1436
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 40 of 141 PageID 1437
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 41 of 141 PageID 1438
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 42 of 141 PageID 1439
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 43 of 141 PageID 1440
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 44 of 141 PageID 1441
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 45 of 141 PageID 1442
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 46 of 141 PageID 1443
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 47 of 141 PageID 1444
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 48 of 141 PageID 1445
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 49 of 141 PageID 1446
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 50 of 141 PageID 1447
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 51 of 141 PageID 1448
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 52 of 141 PageID 1449
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 53 of 141 PageID 1450
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 54 of 141 PageID 1451
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 55 of 141 PageID 1452
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 56 of 141 PageID 1453
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 57 of 141 PageID 1454
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 58 of 141 PageID 1455
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 59 of 141 PageID 1456
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 60 of 141 PageID 1457
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 61 of 141 PageID 1458
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 62 of 141 PageID 1459
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 63 of 141 PageID 1460
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 64 of 141 PageID 1461
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 65 of 141 PageID 1462
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 66 of 141 PageID 1463
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 67 of 141 PageID 1464
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 68 of 141 PageID 1465
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 69 of 141 PageID 1466
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 70 of 141 PageID 1467
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 71 of 141 PageID 1468
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 72 of 141 PageID 1469
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 73 of 141 PageID 1470
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 74 of 141 PageID 1471
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 75 of 141 PageID 1472
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 76 of 141 PageID 1473
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 77 of 141 PageID 1474
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 78 of 141 PageID 1475
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 79 of 141 PageID 1476
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 80 of 141 PageID 1477
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 81 of 141 PageID 1478
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 82 of 141 PageID 1479
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 83 of 141 PageID 1480
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 84 of 141 PageID 1481
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 85 of 141 PageID 1482
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 86 of 141 PageID 1483
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 87 of 141 PageID 1484
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 88 of 141 PageID 1485
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 89 of 141 PageID 1486
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 90 of 141 PageID 1487
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 91 of 141 PageID 1488
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 92 of 141 PageID 1489
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 93 of 141 PageID 1490
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 94 of 141 PageID 1491
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 95 of 141 PageID 1492
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 96 of 141 PageID 1493
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 97 of 141 PageID 1494
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 98 of 141 PageID 1495
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 99 of 141 PageID 1496
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 100 of 141 PageID 1497
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 101 of 141 PageID 1498
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 102 of 141 PageID 1499
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 103 of 141 PageID 1500
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 104 of 141 PageID 1501
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 105 of 141 PageID 1502




                                                                  LCSO/Clark
                                                                  DEF004492
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 106 of 141 PageID 1503
           Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 107 of 141 PageID 1504




                                                               POSITIONS ELIMINATED
Position                          Name              Status            Age Gender      Supervisor          Comment

Senior Services Coordinator       Jami Bartz        Inactive          58   Female     Claire Schell       1/31/2021 Retired/Position Eliminated


Secretary of Traffic              Marsha Sprankel   Inactive          66   Female     Dennis Petraca      2/28/21 Retired/Position Eliminated


Major of Professional Standards   Tracy Estep       Inactive          48   Female     John Holloway       6/24/21 Retired/Position Eliminated


Director of Purchasing            Jenna Clark       Inactive          59   Female     Annmarie Reno       9/4/2021 Retired/Position Eliminated


Community Liaison                 Amy DellAquilla   Inactive               Female     Michael Truscott    10/11/2021 Resigned/Position Eliminated
                                                                      58
                                                                                                          11/4/2021 Title Change to Fleet Services
Director of Fleet Management      James Jones       Active            51   Male       Jeremiah Marcotte
                                                                                                          Specialist/Position Eliminiated/Pay Cut

Communications Manager            Anthony Ramsey    Inactive               Male       Karen Ciofani       10/14/21 Resigned/Position Eliminated
                                                                      46




                                                                                                                                 LCSO/Clark
                                                                                                                                 DEF000123
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 108 of 141 PageID 1505
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 109 of 141 PageID 1506




                                                                     LCSO/Clark
                                                                     DEF004350
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 110 of 141 PageID 1507
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 111 of 141 PageID 1508



   UNDER SHERIFF MARCENO:

   Overcame Major Staffing Shortage for deputies
   A.    For many years, LCSO was unable to hire and retain sworn deputies, and so we
   were understaffed. We have revered the trend and today, LCSO is fully staffed with sworn
   deputies.
   We accomplished this by:
      1)    Saving money in other areas and transferring those savings to fund deputy
           positions.
           a. We utilized state-of-the-art technology and better management practices to reduce
              the number of civilian employees, through attrition, creating more funding for
              deputy positions;
           b. We re-evaluated every civilian position and transferred employees to other
              areas of the agency to assure every employee was allowed to be as productive as
              possible;
           c. We analyzed every vendor contract to eliminate contracts;
           d. We retained only those vendor contracts which are absolutely necessary, and
              analyzed and renegotiated the cost of those remaining contracts;
           e. We have more correctly categorized employees into “non-exempt” and
              “exempt” status, consistent with current I.R.S. guidelines allowing employees
              more freedom to work efficiently, and lowering unnecessary overtime costs;
           f. We began monitoring and working to release non-violent inmates who require
              major medical care expenditures, reducing taxpayer funded medical costs for
              those who pose no danger to the community.


        These efforts, and other improvements, some of which are included below, have resulted in
   millions of dollars in savings, which funded the measures necessary to further improve LCSO’s
   performance as a premier law enforcement agency.


      2) Using the savings created by this common-sense management.
            a. We increased pay for starting deputies by $9,000;
            b. We increased the pay for sergeants, lieutenants, and other supervisors;
            c. We increased the number of applicants we sponsor for both Correctional
                and law Enforcement Academies;
            d. We opened the Academy Sponsorship program to all employees throughout
                the agency;
            e. We fully funded and maintained our highly competitive benefits package -
                which had been severely endangered by major current and anticipated cost
                increases.

      3) We improved and redoubled recruiting efforts and adjusted the application process
         to be more competitive with other law enforcement agencies.

   Today – for the first time in over 4 years, due to competitive pay, benefits and
   extraordinarily high morale, LCSO is fully staffed in all law enforcement positions.



                                                                                     LCSO/Clark
                                                                                     DEF001316
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 112 of 141 PageID 1509




   Vastly Improved Technology
   B.     Again, using the savings realized by best practices, we are have made major
   advancements in state-of-the-art technology, further improving our ability to protect our
   residents and solve crimes.
      1. We will soon open – at no cost to the taxpayers - the most advanced Real Time
         Crime Center/Intelligence Unit in Southwest Florida. This Center, funded by drug
         money forfeited through LCSO’s legal Team, will allow our deputies to be even more
         proactive and our detectives to solve even more crime.
      2. We have acquired and are utilizing:
         a. Additional Mobile License Plate Readers (LPRs);
         b. Additional Fixed LPRs;
         c. Additional Surveillance Towers;
         d. Mobile Surveillance Units;
         e. Facial Recognition Software which identifies criminal suspects;
         f. Additional cameras to monitor public areas;
         g. Additional access to security cameras in malls, shopping centers and major
            institutions;
      These technological improvements act as a “force multiplier” allowing LCSO, using current
      employee levels, to deter and prevent crime, as well as solve crimes even more rapidly and
      efficiently.



   Management Practices
   C.     We have reassigned deputies and detectives based upon ever-changing crime trends
   and constantly evolving demographics, and consistent growth.
      1. We have assigned more detectives and resources to the Violent Crime Unit (VCU),
         improving our ability to identify and arrest the “worst of the worst”;
      2. We have added substantial numbers of School Resource Officers, improving
         protection for every public school in Lee County;
      3. We have added substantial numbers of deputies to the Patrol Division;
      4. We have re-scheduled detectives to include evening, weekend and holidays;
      5. We have re-scheduled Crime Scene Forensic Technicians to include evening,
         weekend and holidays;
   This schedule changes increase the number of deputies and detectives in service at any given
   time, reducing response times; and allows deputies and detectives to operate even more
   effectively and efficiently.
          We constantly monitor ever-changing public safety demands, and modify assignments
   and transfer resources to provide Lee County residents the best “bang for the buck” for their law
   enforcement dollar.




                                                                                       LCSO/Clark
                                                                                       DEF001317
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 113 of 141 PageID 1510




   Community Response Unit (CRU)
           We have created and staffed the Community Response Unit (CRU) with sworn
   deputies and civilians, and combined those resources with our Public Affairs Bureau (PAB)
   providing:
   The ability to highly focus substantial both enforcement and crime prevention resources on
   targeted areas to rapidly address criminal issues and improve the quality of life for residents.



   Corrections Mental Health and Re-Entry Units
           Far too often jail is a revolving door here we re-arrest inmates within days – if not hours
   – of their release. To address this problem:
          1. We created and staffed a specialized Mental Health Unit in Corrections Bureau to
             provide mental health care for inmates while incarcerated, as well as seamlessly
             transfer care and counseling for these inmates when released.
          2. We added additional agency staff and resources to the Corrections’ Re-Entry
             Unit to assist inmates when released with obtaining identification and accessing
             public and private assistance for housing and employment to improve their ability to
             avoid re-arrest.




                                                                                          LCSO/Clark
                                                                                          DEF001318
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 114 of 141 PageID 1511
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 115 of 141 PageID 1512


                Lee County Sheriff’s Office


            Office of Professional Standards
               Staff Inspection Final Report




                               Purchasing
      Workload Assessment and Staff Inspection
                              October 2020

                                                                      1|Page

                                                                     LCSO/Clark
                                                                     DEF004386
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 116 of 141 PageID 1513


                 Lee County Sheriff’s Office
    ______________________________________________________   _____________________
    Sheriff Carmine Marceno                                  Date
    Office of the Sheriff


    ______________________________________________________   _____________________
    Undersheriff Eric Smith                                  Date
    Office of the Sheriff


    ______________________________________________________   _____________________
    Chief John Holloway                                      Date
    Office of the Sheriff


    ______________________________________________________   _____________________
    Annmarie Reno                                            Date
    Support Services Executive Bureau


    ______________________________________________________   _____________________
    Jenna Clark                                              Date
    Purchasing Director


    ______________________________________________________   _____________________
    Traci Estep                                              Date
    Professional Standards Division


    ______________________________________________________   _____________________
    Commander Paul Cummins                                   Date
    Professional Standards Division



    ______________________________________________________   _____________________
    Captain Matthew Herterick                                Date
    Training Division


    ______________________________________________________   _____________________
    Sergeant Diana Cintron                                   Date
    Staff Inspector – Professional Standards Division




                                                                           2|Page

                                                                         LCSO/Clark
                                                                         DEF004387
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 117 of 141 PageID 1514


                            Lee County Sheriff’s Office

                                                            Table of Contents
   Title Page ......................................................................................................................... 1
   Signatures Page ................................................................................................................ 2
   Table of Contents ............................................................................................................. 3
   Executive Summary.......................................................................................................... 4
   Purchasing Formal Inspection ......................................................................................... 6
   Introduction ...................................................................................................................... 7
   Description of Purchasing………..................................................................................... 7
   Mission, Objectives, and Methodology of Formal Inspection ........................................ 8
   Policy, Procedure, and Accreditation Compliance ..........................................................9
   Staffing Assessment.........................................................................................................11
   Personnel Assessment...................................................................................................... 16
              Member Surveys ................................................................................................. 16
              Personal Interviews ............................................................................................. 22
              Member Self-Assessments .................................................................................. 22
              Inspector Observations......................................................................................... 24
   Conclusion........................................................................................................................ 25
   References........................................................................................................................ 27




                                                                                                                                      3|Page

                                                                                                                                   LCSO/Clark
                                                                                                                                   DEF004388
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 118 of 141 PageID 1515


                   Lee County Sheriff’s Office
                       Executive Summary – Purchasing Inspection
   In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
   Standards Division began a formal staff inspection of Purchasing. The summarized results are
   below:

   Conclusion

      1. Does Purchasing meet the agency's formal expectations?

          Yes.

      2. Does Purchasing’s practices and procedures ensure compliance with LCSO policies,
         procedures, and professional standards?

          Yes.

      3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
         Purchasing?

          There are no recognizable deficiencies in integrity, training, morale, policy, first line
          supervision, and personnel.

      4. Are resources adequate for achieving agency goals and objectives?

          Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
          pictures of stock items. The staffing resources are inadequate according to the workload
          analysis. The addition of two (2) Purchasing Agent allocations is recommended for
          Purchasing.

      5. Are internal and external communications effective?

          Yes.

      6. Is there sufficient safety and security for personnel?

          Yes. There is sufficient safety and security for personnel, and the equipment provided
          meets and exceeds all operational and Accreditation standards.

      7. Are the written directives for this unit adequate?

          Yes. Written directives meet all State and Federal laws, and Accreditation Standards.



                                                                                            4|Page

                                                                                          LCSO/Clark
                                                                                          DEF004389
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 119 of 141 PageID 1516


                    Lee County Sheriff’s Office
      8. Evaluation of the record keeping practices for organization, completeness, and ability to
         retrieve information.

          The record keeping practices of Purchasing are organized, complete, and the software
          available provides easy retrieval of information.

      9. Other Recommendations
         There are no other recommendations at this time.


      Objectives

      1. Does Purchasing comply with the law, policy, and CALEA standards? Yes.

      2. Is the Purchasing facility safety and security appropriate? Yes.

      3. Are equipment safety, and equipment needs met? Yes.

      4. Is adequate supervision assigned to Purchasing? Yes.

      5. Are adequate personnel assigned to Purchasing? No.

          Recommendation: The current staffing level is inadequate and it is recommended that two
          (2) additional Purchasing Agent positions be allocated.



   The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
   very high level of productivity according to all of the employees. Most of the personnel appear
   to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
   well liked by their employees. Nearly all of the staff showed high to very high levels of morale
   and job satisfaction.

   It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
   enforcement agency. The Purchasing Division is a very small unit with a group of very hard
   working and dedicated employees. With their expertise in purchasing goods and services for the
   department, the certified staff can focus on keeping the residents and visitors of Lee County safe.




                                                                                             5|Page

                                                                                           LCSO/Clark
                                                                                           DEF004390
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 120 of 141 PageID 1517


                Lee County Sheriff’s Office




                      Purchasing
                    Formal Staff
                     Inspection




                                                                      6|Page

                                                                     LCSO/Clark
                                                                     DEF004391
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 121 of 141 PageID 1518


                   Lee County Sheriff’s Office
                          Purchasing Formal Staff Inspection
   Introduction
   In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
   Standards Division began a formal staff inspection of the Purchasing Division, commonly
   referred to as “Purchasing.” On August 26, 2020, Sgt. Cintron held a pre-inspection meeting
   with Purchasing Director Jenna Clark. It was determined that Purchasing Director Clark would
   be the liaison for the inspection process. The inspection began in October of 2020 and
   concluded in November 2020.

   Description of Purchasing
   Location

   The Lee County Sheriff’s Office Purchasing Division is comprised of Purchasing
   Director/Management and Purchasing Agents. The strength of the Central Purchasing System is
   its ability to serve the operating components/divisions without requiring them to maintain their
   own internal purchasing process. The value of centralized purchasing has long been recognized
   in both government and private business.

   The goal of Purchasing is to obtain items at the lowest reasonable rate and within the time
   requested, or as soon as possible. The Purchasing Division is also responsible for ensuring
   proper authorization and recording of all purchase transactions by its personnel.

   There are three different purchasing procedures: Standard Purchasing requires an online
   purchase order; In-House Store Purchasing requires an online requisition; and Software
   Purchasing requires Technical Support and Facilities Division Director approval prior to
   submission of an online purchase order.

   Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
   Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
   Purchasing and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample parking
   for personnel. The building provides adequate security with video surveillance. There are no
   major issues with the location or property.

   Personnel

   As of October 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
   Director, 1 Purchasing Manager, 5 Purchasing Agents.



   Daily Operations

                                                                                         7|Page

                                                                                       LCSO/Clark
                                                                                       DEF004392
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 122 of 141 PageID 1519


                   Lee County Sheriff’s Office
   Purchasing Division personnel work four, 10-hour days. Scheduling is set to cover a workweek
   of Monday – Friday.

   Purchasing Director position involves responsible supervisory, administrative and operational
   duties specific to the position. The Director researches and prepares various reports, composes
   and constructs policy, procedure and directives, and the budget for the component. The
   Purchasing Director Jenna Clark works from 8:00 a.m. – 6:00 p.m., Tuesday - Friday.

   The Purchasing Manager position involves administrative and clerical work purchasing a variety
   of supplies and equipment. Work involves responsibility for research, pricing and negotiation
   for purchase of quality items at the best price, preparing purchase orders, and keeping an
   inventory of items ordered and received. Duties include contacting vendors for availability of
   products and the provision of contracted services. Work is performed under the general
   supervision of the Purchasing Director. Purchasing Manager Shannon Lehman works 6:30 a.m.
   – 4:30 p.m., Monday – Thursday.

   The Purchasing Agents duties involve responsibility for research, pricing and negotiation for
   purchase of quality items at the best price, preparing purchase orders, and keeping an inventory
   of items ordered and received. Duties include contacting vendors for availability of products,
   preparing bid specifications, and following-up on delivery of products and the provision of
   contracted services. Additionally, Purchasing agents answer phones, provide customer service to
   employees at the front counter, and meet vendors at the loading dock and accept delivery of
   products.

   Purchasing Agent Daysi Castillo works 7:00 a.m. – 5:00 p.m., Monday – Friday. Purchasing
   Agent Christine Cross works 6:00 a.m. – 4:00 p.m., Tuesday – Friday. Purchasing Agent
   Danielle DePonto works 7:15 a.m. – 5:15 p.m., Monday – Thursday. Purchasing Agent Brenda
   Hector works 8:00 a.m. – 6:00 p.m., Monday and Friday and 10:00 a.m. – 8:00 p.m. Tuesday and
   Thursday. Purchasing Agent Gwen Legler works 6:00 a.m. – 4:00 p.m., Tuesday - Friday.

   Mission, Objectives, and Methodology of Formal Inspection
      1. Mission
            a. To determine if Purchasing meets the agency's formal expectations.
            b. To review practices and procedures to ensure compliance with LCSO policies,
               procedures, and professional standards.
            c. To detect deficiencies in integrity, training, morale, policy, supervision, or
               personnel.
            d. To determine if resources are adequate for achieving agency goals and objectives.
            e. To evaluate the effectiveness regarding internal and external communications.
            f. To evaluate the safety and security of personnel.
            g. To evaluate the adequacy of written directives related to this unit.


                                                                                         8|Page

                                                                                       LCSO/Clark
                                                                                       DEF004393
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 123 of 141 PageID 1520


                   Lee County Sheriff’s Office
            h. To review the record keeping practices for organization, completeness, and ability
               to retrieve information.
      2. Objectives
            a. Ensure compliance with the law, policy, and CALEA standards.
            b. Ensure facility safety and security is appropriate.
            c. Ensure equipment safety, and equipment needs are met.
            d. Ensure that adequate supervision is assigned.
            e. Ensure that adequate personnel are assigned.
      3. Methodology
            a. Meetings, email and phone contact with supervisors.
            b. Physical inspection of facilities.
            c. Review of relevant databases (PowerDMS, CAD, etc...)
            d. Surveys, including a component survey and unit member survey.
            e. Personal interviews with personnel.
            f. Analysis of the Division workload.



   Policy, Procedure, and Accreditation Compliance
   Commander’s Component Survey

   Purchasing Director Jenna Clark completed a “Component Survey" as part of this formal
   inspection. The Component Survey noted no concerns.

   Power DMS Inbox Summary

   Sgt. Diana Cintron generated a Signatures Summary and a Student Records report in the Power
   DMS system. The report revealed no major issues. This shows that personnel sign all
   mandatory documents and complete online courses in a timely manner.

   Official Manpower Allotments

   As of October 21, 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
   Director, 1 Purchasing Manager, 5 Purchasing Agents.

   The Purchasing budget and allocations (Budget Account #20302) Manpower Report is provided
   in the Appendix.

   Current Budget

   Sergeant Cintron obtained a copy of the Purchasing current budget for FY 20/21. Purchasing is
   allotted $1,665,414.00. No anomalies were noted in their expenditure report and their budget is
   consistent with that of other similar units at the Sheriff's Office.

                                                                                        9|Page

                                                                                       LCSO/Clark
                                                                                       DEF004394
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 124 of 141 PageID 1521


                    Lee County Sheriff’s Office
   Accreditation Compliance

   Sgt. Cintron received an email from Manager Tanya Tanner in Accreditation on November 5,
   2020. Manager Tanner stated that Purchasing was up-to-date on all of their standards and that
   there were no concerns or anomalies. A copy of the Accreditation standards for Purchasing is
   located in the Appendix.

   Goals and Objectives

   Goals and Objectives are written goals and written objectives that agency components use to
   measure the success or failure of their unit. Located on the agency intranet, personnel are able to
   see and obtain a copy of each goal and objective for their unit. Unit Commanders update these
   goals and objectives in January of each calendar year. The formal Goals and Objectives for
   Purchasing can be found in the Appendix.

      1. Written Goals and Objectives

          At the time of the inspection, the 2019 Goals and Objectives were completed. The 2019
          Goals and Objectives revealed the following concerns and notable accomplishments:

              a. Track number of purchase orders processed.
                     i. 2019 Baseline:
                        Total purchase orders and pick tickets processed: 6,641, a 19% increase
                        from 2018.

                         Recommendations – No recommendations at this time.

              b. Maintain efficiency in inventory control.
                    i. 2019 Baseline:
                        During 2019, the NIGP (National Institute for Government Purchasing)
                        Commodity/Service Codes have not been consistently utilized. The goods
                        and services that we acquire are not enough volume to utilize the codes.
                        Photo imaging of equipment and supplies is an ongoing process so this
                        would be considered not on target.

                         Recommendations – No Recommendations at this time. The process is
                         moving forward per Director Jenna Clark.




                                                                                          10 | P a g e

                                                                                         LCSO/Clark
                                                                                         DEF004395
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 125 of 141 PageID 1522


                    Lee County Sheriff’s Office
   Job Task Analysis (JTA’s)

   Purchasing has the following non-staff level positions: Purchasing Agent. The Job Task
   Analysis for the above listed job classifications are in the Appendix.

   Facilities and Equipment

   Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
   Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
   Human Resources and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample
   parking for personnel. The building provides adequate security with video surveillance. There
   are no major issues with the location or property.

   Facility Safety and Security

   Purchasing has a controlled access system for entry into the secure areas of the building, and all
   equipment is protected and locked. Purchasing maintains a good combination of security and
   approachability for members, and the controlled access and provides a higher than normal level
   of security.

   Staffing Assessment
   Introduction

   The Lee County Sheriff’s Office is required to perform periodic workload assessments so that
   personnel may be appropriately allocated and distributed across the various organizational
   components.

   The Commission on Accreditation for Law Enforcement Agencies (CALEA) standard 16.1.2
   states: “The agency allocates personnel to, and distributes them within all organizational
   components in accordance with documented periodic workload assessments.” The purpose of
   this standards is to encourage the appropriate deployment of personnel by determining service
   demands through the use of workload assessments and computer-based or manual methods of
   personnel allocation and distribution. (Shane, 2009, p.99)

   The intent of this standard is to encourage the equalization of individual workloads among and
   within organizational components. The analysis should specify all incidents and factors used in
   making each workload assessment and indicate any time and location factors necessary to
   complete a task.

   Basing the allocation of personnel on workload demands can have a significant influence on the
   efficiency and effectiveness of the agency. The agency should attempt to prevent over or under
   staffing by ensuring that, the personnel strength of an organizational component is consistent
   with the workload. The nature or number of tasks as well as their complexity, location, and time


                                                                                          11 | P a g e

                                                                                         LCSO/Clark
                                                                                         DEF004396
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 126 of 141 PageID 1523


                    Lee County Sheriff’s Office
   required for completion are some of the factors influencing workload demands. The process of
   allocating personnel to each organizational component also permits the agency to determine the
   overall number of personnel required to meet its needs and fulfill its objectives.

   Assignment of personnel to Purchasing should be based on a thorough analysis of what
   Purchasing Agents are actually responsible for. The work of Purchasing Agents is much more
   than answering telephone calls, reading, and returning emails to other personnel within the
   agency. It is conducting tasks related to research, pricing and negotiation for purchase of quality
   items at the best price, preparing purchase orders, and keeping an inventory of items ordered and
   received. Duties include contacting vendors for availability of products, preparing bid
   specifications, and following-up on delivery of products and the provision of contracted services.
   Additionally, personnel answer phones, provide customer service to employees at the front
   counter, and meet vendors at the loading dock and accept delivery of products.

   Workload Assessment Methodology

   The methodology used to perform the Purchasing Agents Workload Assessment is one suggested
   by CALEA inspectors and is formally presented in the textbook What Every Chief Executive
   Should Know; Using Data to Measure Police Performance by Dr. Jon Shane, who is a professor
   of criminal justice at the John Jay College of Criminal Justice at the City University of New
   York. Dr. Shane’s model is easy to use, easily taught to others, and accurate in determining
   staffing needs.

      1. Purchasing Agents

          The Explanation of Each Step in the Methodology for Purchasing Agents - Self-
          Reported Workload Analysis

          The methodology used to perform the Purchasing Agents Workload Assessment is the
          same one used by the Lee County Sheriff’s Office in previous years to determine staffing
          needs of various units and it includes workload and actual work on their regular duties.

          Explanation of Each Step in the Methodology

                  Step 1- Gather existing data on Purchasing Agents activities to determine those
                  tasks completed daily by Purchasing Agents has to create a list of principle
                  modalities.

                  Step 2- Develop a list of principle modalities. The Purchasing Agents have
                  reported these tasks as common tasks performed daily. (AKA principle
                  modalities).

                      i.   Phone Calls and Emails
                     ii.   Checking in Orders, and Receive Orders

                                                                                         12 | P a g e

                                                                                         LCSO/Clark
                                                                                         DEF004397
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 127 of 141 PageID 1524


                  Lee County Sheriff’s Office
                   iii.   Pull Pick Ticket Orders and Send Order Ready Notifications
                    iv.   Customer Service Front Counter/Back Door, Receive/Process Packages
                     v.   Process Pick Ticket Orders, Process Purchase Orders and Pull Orders
                    vi.   Enter In-House Supply Replenishment Order, Enter Requisitions/Orders
                   vii.   Meeting with Jenna, Shannon or Assist Other Employees
                  viii.   Receive Purchase Orders
                    ix.   Enter/Finish Jail Supply Order, Finish Reviewing Supplies for
                          Corrections
                    x.    Convert Requisitions to Purchase Orders, Finish/Follow-up Pending
                          Requisitions
                    xi.   Enter/Update JM Todd New Leases
                   xii.   Follow-up with Vendors Open Orders/Orders Not Delivered
                  xiii.   Process/Convert Requisitions, Scan Requisitions and Purchase Orders
                  xiv.    Process New Hire, Size Appointment New Hire, Fill Out Paperwork for
                          New Hires
                   xv.    Cut Patches Off Used Uniforms and Hang/Dispose of Uniform
                  xvi.    Process Uniform Request/Returns, Check Used Uniforms, Work in
                          New/Used Uniforms
                 xvii.    Pull/Restock Uniforms and Equipment for Uniform Request, Restock
                          Inner Belts
                xviii.    Add Sizing Labels to Garment Bags for New LE Uniform
                 xix.     Other Administration Duties

                Step 3- Total minutes available for work in a typical day, and typical week, were
                calculated with MS Excel.

                Step 4- Total minutes used and left unused for work by Purchasing Agents were
                calculated with MS Excel.

                Step 5- The percentage of actual available minutes used by the unit was
                calculated with MS Excel.

                Step 6- The top five modalities on which Purchasing Agents spend the majority
                of their time were calculated with MS Excel.

                Step 7- The relief factor of 1.33 was included in these calculations.

         The below chart indicates the results for the time required to fulfill Purchasing Agents
         demands. The summarized results indicate that there is a requirement of 7 full-time
         equivalent (FTE) positions to handle the Purchasing Agents workload. This indicates
         that a total of 5 (five) employees are performing the work of seven (7) FTE positions.
         The self-reported analysis also indicated that the Purchasing Agents are using 100% of
         their available time working on Purchasing Agent principal modalities. It would appear

                                                                                        13 | P a g e

                                                                                        LCSO/Clark
                                                                                        DEF004398
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 128 of 141 PageID 1525


                               Lee County Sheriff’s Office
         that the current staffing level is inadequate and it is recommended that two (2) additional
         Purchasing Agent positions be allocated. The full results can be found in the Appendix.

                                     Purchasing - Civilian Purchasing Agent - TIME / WORKLOAD ANALYSIS
                                                                                                                                         Weekly       Weekly            Monthly            Annual               % Of Weekly
                             Tasks Routinely Performed by The Detectives                        Day 1      Day 2     Day 3     Day 4     Minutes          Hours          Hours               Hours                 Minutes
         Phone callsandEmails                                                                     693       579       602       652        2526           42.10          182.29           2187.516                 20.83%
         CheckinginOrders, Receive Orders                                                         14        179        88       140         421            7.02           30.38            364.586                  3.47%
         Pull PickTicket OrdersandSendOrder ReadyNotifications                                    153        42        19        6          220            3.67           15.88             190.52                  1.81%
         CustomerService Front Counter/BackDoor, Receive/ProcessPackages                          448       426       583       567        2024           33.73          146.07           1752.784                 16.69%
         ProcessPickTicket Orders, ProcessPurchase OrdersandPull Orders                           412       155       281       195        1043           17.38           75.27            903.238                  8.60%
         EnteredInHouse Supply Replenishment Order, Enter Requisitions/Orders                     111       219        62        98         490            8.17           35.36             424.34                  4.04%
         MeetingwithJenna, Shannon or Assist other Employees                                      73        137       140        45         395            6.58           28.51             342.07                  3.26%
         ReceivingPurchase Orders                                                                 23         0         0         0          23             0.38           1.66              19.918                  0.19%
         Enter/FinishJail SupplyOrder, FinishReviewingSuppliesForCorrections                      61         0         0         0          61             1.02           4.40              52.826                  0.50%
         Convert Requistionsto Purchase Orders, Finish/Follow-upPendingRequestions                 0         39        46       159         244            4.07           17.61            211.304                  2.01%
         Enter/Update JM ToddNewLeases                                                             0         0        274        0          274            4.57           19.77            237.284                  2.26%
         Follow-upwithVendorsOpenOrders/OrdersNot Delivered                                        0         0         0         33         33             0.55           2.38              28.578                  0.27%
         Process/Convert Requisitions, ScanRequisitionsand Purchase Orders                        278       246       414       331        1269           21.15           91.58           1098.954                 10.46%
         ProcessNewHire, Size Appointment NewHire, Fill Out Paperworkfor NewHires                 27         41        60        7          135            2.25           9.74              116.91                  1.11%
         Cut PatchesOff UsedUniformsandHang/Dispose Uniform                                       21         77        0         0          98             1.63           7.07              84.868                  0.81%
         ProcessUniformRequest/Returns, CheckUsedUniforms, WorkinNew/UsedUniforms                 239       249       245       295        1028           17.13           74.19            890.248                  8.48%
         Pulled/RestockedUniforms& Equpment forUniformRequest, RestockInner Belts                  7         35        0         0          42             0.70           3.03              36.372                  0.35%
         AddSizingLabelsto Garment BagsFor NewLEUniform                                            0         0         0         20         20             0.33           1.44               17.32                  0.16%
         Other Administrative Duties                                                              441       579       221       420        1661           27.68          119.87           1438.426                 13.69%
                                                                                     Total =     3001       3003      3035     2968       12007           200.12         866.51           10398.062                98.99%


                    Total Available Minutes / Includes ALL Time With No Deductions


         Total Daily Minutes Actually Available For Work    600 x 4 = 2400                       2400     600 available work minutes in one shift times 4 shifts each week (break s are part of relief factor included in calculations below)
         Total Weekly Minutes Actually Available For Work 600 x 4 x 5 = 12000                    12000    600 available minutes in one shift times 4 Shifts times 5 unit members
         Total Weekly Minutes Actually Used For Work By This Unit                                12007    Actual documented time work ed by the Unit during a regular four day work week .
         Unused Work Minutes                                                                       -7     Actual available time not tak en advantage of
         Percentage Of Actual Available Minutes Used By This Unit                                100%     Percentage of the actual available time used by the entire unit as a whole


                       Top Five Categories This Unit Is Spending Time On Weekly


         TasksRelatedto NewHire - Scan, Start ActionSheet, PrepNewFile                          20.83%
         TasksRelatedto Other Administrative Duties                                             16.69%
         TasksRelatedto Phone callsandEmails                                                    13.69%
         TasksRelatedto Applications, Applicants. Employment Verification                       10.46%
         TasksRelatedto MUNIS- Management, Repair, Requests, Documentation                       8.60%
          70% of their work week is spent on these five categories                               70%


         Full Time Equivalency Evaluation


                     One Full Time Equivalent / Actual Work Time With Deductions                 1574     1 FTE = 1574 Hours = 10 Hrs Daily x 4 Days Week ly = 40 Hrs Week ly x 52.14 Weeks Yearly = 2086 Hrs Relief Factor of 512 hours = 1574 Hrs
                                            Total Annual Hours                                 10398.062 Total FTE hours work ed by the unit annually
                                         Full Time Equivalency                                     7      This number indicates that 5 Purchasing Agents are doing the work of 7 Purchasing Agents during an average work week.




         (This chart can be viewed in the Appendix)

         Relief Factor Calculations and Tables for Purchasing Agents

         Purchasing Agents are permitted a specified number of Vacation, Sick, Personal, and
         Training hours that takes them away from their regular duties. Therefore, a relief factor,
         which accounts for personnel usage of this time, must be factored into the staffing
         assessment. Using averages, the Relief Factor for Purchasing Agents working 10-hour
         shifts is 1.33. This means that 1.33 people must be hired to do the work of one full time
         equivalent position.




                                                                                                                                                                                                                14 | P a g e

                                                                                                                                                                                                               LCSO/Clark
                                                                                                                                                                                                               DEF004399
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 129 of 141 PageID 1526


                    Lee County Sheriff’s Office
                             Standard Relief Factor for Civilian Employees 10/Shift
                                                        Category                                          Civilian
          1   Total hours identified by policy (based on a standard 40 hour work week (40 x 52.14 = 2086) 2086
          2   Vacation Hours Per Year                                                                      160
          3   Personal Hours Per Year                                                                      100
          4   Sick Hours Per Year                                                                           80
          5   Break Time Hours Per Year                                                                    172
          6   Total of Lines 2-6                                                                           512
          7   Subtract Line 6 from Line 1                                                                 1574
          8   Relief Factor (divide line 1 by line 7 and round to 2 decimal places)                        1.33

         As indicated by the Time/Workload Analysis chart, the shift relief factor was already
         calculated into the Purchasing Agents workload. Including the shift relief factor, the
         workload of 7 Purchasing Agents will require two (2) additional allocations. It should be
         noted that this assessment revealed existing Purchasing Agents are working on principle
         modalities 100% of the time.

         Results Summary

         As of this assessment, there are 7 total allotments in Purchasing with 5 non-supervisory
         positions. There are five (5) Purchasing Agents doing the work of 7.

         Recommendation – The addition of two (2) Purchasing Agent allocations.




                                                                                                      15 | P a g e

                                                                                                     LCSO/Clark
                                                                                                     DEF004400
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 130 of 141 PageID 1527


                  Lee County Sheriff’s Office
   Personnel Assessment
      1. Member Surveys

         As part of the workload inspection of Purchasing, all members received a “Member
         Survey” disseminated by Sgt. Diana Cintron consisting of thirty-one (31) questions
         directly related to the individual worker. Sgt. Cintron provided seven (7) unit members
         with a hyperlink to the anonymous, confidential, web-based survey and requested it be
         completed. Seven (7) of the 7 members or 100% of personnel responded. A copy of the
         thirty-question member survey is included in the appendix.

         Below are the survey questions:

            1) Do you believe that your unit is performing at an acceptable level?
            2) Are you aware of any policies or procedures that are not being followed?
            3) If you answered yes to the above question, please specify which policy or
                procedure is not being followed?
            4) Has technology improved your personal work performance?
            5) Is your work satisfying?
            6) Do you know the goals and objectives of your unit?
            7) Do you have the necessary tools and resources to do your job?
            8) If you do not have the necessary tools and resources to do your job, please list the
                tools and resources that you need.
            9) Is your equipment periodically inspected as required by policy?
            10) Were you given the requisite training upon selection to your unit?
            11) Have you received additional unit related training since you started in this unit?
            12) Is training available to you in your current assignment?
            13) Has the training you have received improved your job performance?
            14) Is your supervisor aware of your work performance?
            15) Does your supervisor support your actions and decision?
            16) Does your supervisor encourage your ideas and opinions?
            17) Does your supervisor inform you on matters that affect your job?
            18) (Short answer question) What are the positive things about your unit/shift?
            19) (Short answer question) What are the negative things about your unit/shift?
            20) (Short answer question) Have you taken an active role in finding solutions to unit
                issues?
            21) (Short answer question) What could you or the agency do to help maximize your
                job performance?
            22) (Short answer question) Is there any equipment not provided to you that could
                help you to perform better?


                                                                                       16 | P a g e

                                                                                      LCSO/Clark
                                                                                      DEF004401
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 131 of 141 PageID 1528


                 Lee County Sheriff’s Office
            23) (Short answer question) If you answered yes to the above, please list the
                equipment that could be provided which would help you perform your job better.
            24) (Short answer question) Is there any training that you would like to have more
                frequently?
            25) (Short answer question) If you answered yes to the above, please list the type of
                training you would like to receive.
            26) (Short answer question) Are there any procedures that can be modified to save
                time?
            27) (Short answer question) If you answered yes to the above, please list the
                procedure changes that you would make to save time.
            28) Are you aware that all files, spread sheets and/or pertinent information should be
                uploaded to the proper program or sent to the official custodian within the Lee
                County Sheriff's Office and not be kept in your own personal files?
            29) Do you have any personal files that should be uploaded in Spillman or any other
                LCSO programs?
            30) (Short answer question) Is there anything you would like to add about your work
                or your unit? If so, please let us know below.
            31) What would you like us to know that would benefit Purchasing or was not
                covered previously?

          Survey Responses:

               (Duplicate or unassociated written answers have been omitted. The full responses
               can be viewed in the Appendix.

            1. Do you believe that your unit is performing at an acceptable level?
                    i. Yes – 100%
                   ii. No – 0%
            2. Are you aware of any policies or procedures that are not being followed?
                    i. Yes – 0%
                   ii. No – 100%
            3. If you answered yes to the above question, please specify which policy or
               procedure is not being followed. N/A
            4. Has technology improved your personal work performance?
                    i. Yes – 86%
                   ii. No – 14%
            5. Is your work satisfying?
                    i. Yes – 100%
                   ii. No – 0%
            6. Do you know the goals and objectives of your unit?
                    i. Yes – 100%

                                                                                       17 | P a g e

                                                                                      LCSO/Clark
                                                                                      DEF004402
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 132 of 141 PageID 1529


                 Lee County Sheriff’s Office
                  ii. No – 0%
            7. Do you have the necessary tools and resources to do your job?
                      i. Yes – 83%
                     ii. No – 17%
            8. (Short answer question) If you do not have the necessary tools and resources to do
                your job, please list the tools and resources that you need.
                      i. Written Answers:
                            a. “Although would like to add a few bar code scanners, along with a
                                good camera to take pictures of stock items.”
                            b. “The tools they have given us to do the job is very labor intensive
                                and inconsistent when performing certain tasks. Which in turn
                                makes the job very frustrating at times.”
                            c. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
            9. Is your equipment periodically inspected as required by policy?
                      i. Yes – 100%
                     ii. No – 0%
            10. Were you given the requisite training upon selection to your unit
                      i. Yes – 100%
                     ii. No – 0%
            11. Have you received additional unit related training since you started in this unit?
                      i. Yes – 100%
                     ii. No – 0%
            12. Is training available to you in your current assignment?
                      i. Yes – 100%
                     ii. No – 0%
            13. Has the training you received improved your job performance?
                      i. Yes – 100%
                     ii. No – 0%
            14. Is your supervisor aware of your work performance?
                      i. Yes – 100%
                     ii. No – 0%
            15. Does your supervisor support your actions and decisions?
                      i. Yes – 100%
                     ii. No – 0%
            16. Does your supervisor encourage your ideas and opinions?
                      i. Yes – 100%
                     ii. No – 0%
            17. Does your supervisor inform you on matters that affect your job?
                      i. Yes – 100%


                                                                                      18 | P a g e

                                                                                     LCSO/Clark
                                                                                     DEF004403
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 133 of 141 PageID 1530


                 Lee County Sheriff’s Office
                    ii. No – 0%
            18. (Short answer question) What are the positive things about your unit/shift?
                     i. Written Answers:
                           a. “I feel everyone tries to work as a team, and I am approachable if
                               they have concerns.”
                           b. “Management in the unit is very approachable and easy to talk
                               with. I enjoy the job, just not the Munis program we have
                               switched to, to complete the job.”
                           c. “Every day is a challenge and in this unit you can’t never stop
                               learning.”
                           d. “We are able to provide customer service and necessities to other
                               employees in the agency.”
                           e. “I am able to successfully work with my partner/co-workers, have
                               great support from my supervisors, different projects,
                               responsibilities to stay busy, great relationships with other
                               employees in the agency and co-workers.”
                           f. “Each member has different areas that they handle and excel in.
                               The team has an excellent work ethic and multi-task both
                               individually and as a unit.”
                           g. “Open door policy. Both Shannon and Jenna are always willing to
                               help and to also answer any questions or problems I come across.”
            19. (Short answer question) What are the negative things about your unit/shift?
                     i. Written Answers:
                           a. “N/A.”
                           b. “The glitchy Munis program we are using to do the job.”
                           c. “In occasions the miscommunication.”
                           d. “Sometime attitudes can be difficult to deal with.”
                           e. “Others with low morale, negativity or causing issues with other.”
                           f. It is a smaller unit, so when it comes to scheduling it can hard to
                               have multiple personnel off?”
            20. Have you taken an active role in finding solutions to unit issues?
                     i. Yes – 71%
                    ii. No – 29%
            21. (Short answer question) What could you or the agency do to help maximize your
                job performance?
                     i. Written Answers:
                                   a. “N/A.”
                                   b. “Nothing that I can think of at this time. They already have
                                       given us a counter person which has help tremendously
                                       with the interruptions in completing tasks in the Munis


                                                                                      19 | P a g e

                                                                                     LCSO/Clark
                                                                                     DEF004404
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 134 of 141 PageID 1531


                 Lee County Sheriff’s Office
                                        system and given us desk top scanners to help with the
                                        workload.”
                                    c. “Provide better salary and more trainings in other areas.”
                                    d. “Improve morale.”
                                    e. “Help to update technology so we are not so paper heavy
                                        and doing things manually, such as a scanning/inventory
                                        system that ties in with our purchasing system (Munis),
                                        electronic signatures, etc.”
                                    f. “Would be nice to have a handheld scanner to scan items
                                        directly into the person’s issuance.”
            22. Is there any equipment not provided to you that could help you to perform better?
                     i. Yes – 43%
                    ii. No – 57%
            23. If you answered yes to the above, please list the equipment that could be provided
                which would help you perform your job better.
                     i. Written Answers:
                            a. “Bar code scanners (handheld).”
                            b. “A handheld scanner that would help with scanning uniforms right
                                in to the employee issuance if this was possible based on
                                procurement program we have in place.”
                            c. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
            24. Is there any training that you would like to have more frequently?
                     i. Yes – 43%
                    ii. No – 57%
            25. If you answered yes to the above, please list the type of training you would like to
                receive.
                     i. Written answers
                            a. “Cross training in different areas within the unit.”
                            b. “Anything relating to effectively dealing with people.”
                            c. “Anything customer service or dealing with people.”
            26. Are there any procedures that can be modified to save time?
                     i. Yes – 57%
                    ii. No – 43%
            27. If you answered yes to the above, please list the procedure changes that you
                would make to save time.
                     i. Written answers
                            a. “Entering of uniform requests in Munis. Lots of steps to enter
                                each item.”



                                                                                        20 | P a g e

                                                                                       LCSO/Clark
                                                                                       DEF004405
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 135 of 141 PageID 1532


                   Lee County Sheriff’s Office
                            b. “As mentioned above, advanced technology systems in place
                                would help decrease manual issuance/receipts and having to scan
                                paper. Electronic signatures for issued items, scanning system to
                                take inventory and manage receipts/issuance.”
                            c. “A handheld scanner than would help with scanning uniforms right
                                into the employee issuance if this was possible, based on
                                procurement program we have in place.”
                            d. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
             28. Are you aware that all files, spread sheets and/or pertinent information should be
                 uploaded to the proper program or sent to the official custodian within the Lee
                 County Sheriff's Office and not be kept in your own personal files? Is there
                 anything you would like to add about your work or your unit?
                      i. Yes – 100%
                     ii. No – 0%
             29. Do you have any personal files that should be uploaded in Spillman or any other
                 LCSO programs?
                      i. Yes – 0%
                     ii. No – 100%
             30. (Short answer question) Is there anything you would like to add about your work
                 or your unit?
                      i. Written Answers:
                            a. “The girls in Purchasing work very hard, they are team players and
                                very conscientious in the work they do.”
                            b. “We have a good little unit here with great management.”
                            c. “Some co-workers should mind their own business.”
                            d. “We have a hard working group of people that are tasked with a
                                large workload and they handle it.”
                            e. “I enjoy my job and really like working for Jenna and Shannon.”
             31. What would you like us to know that would benefit the Human Resources Unit or
                 was not covered previously?
                      i. Written answers
                            a. “Nothing.”

   The major issues observed in the member survey are as follows:

                      1) Equipment:
                            a. Throughout the survey, it was mentioned by several Purchasing
                               Agents that they would like to have a handheld Barcode scanner
                               that would scan information into the employee issuance.
                            b. A good camera to take pictures of stock items.

                                                                                       21 | P a g e

                                                                                      LCSO/Clark
                                                                                      DEF004406
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 136 of 141 PageID 1533


                  Lee County Sheriff’s Office
                             c. Advanced technology systems in place would help decrease
                                manual issuance/receipts and having to scan paper. Electronic
                                signatures for issued items, scanning system to take inventory and
                                manage receipts/issuance.

                        Recommendation: If Director Clark agrees with the suggestions of the
                        additional equipment/technology, it should be investigated to determine
                        cost and effectiveness.

                     2) Training:
                           a. Cross training in different areas within the unit.
                           b. A class on effectively dealing with people.
                           c. A class on customer service.

                        Recommendation: The individual should find out where these
                        classes/courses are being offered and provide the Training Division, Paula
                        Robinson, with the information so it may be uploaded into TMS and apply
                        for the offered course.

      2. Personal Interviews

         Sgt. Cintron made an unannounced visit to speak to the Purchasing Agents in the
         Purchasing Division. Sgt. Cintron spoke to several people asking them what their job
         duties were, what their daily tasks comprised of, and their overall job happiness. The
         only issue brought up was regarding a handheld scanner to make their job tasks quicker
         and easier. Although, the unit is a small unit, it appears that the Purchasing Agents and
         Management are a very closely knitted group. Sgt. Cintron was sitting at the break table
         and one Purchasing Agent was eating her lunch. She appeared to be happy and content
         with her position in Purchasing. It was very busy and non-stop.

      3. Member Self-Assessments

         An online Member Self-Assessment was distributed to each member in Purchasing.
         These anonymous assessments asked personnel to answer four questions and state their
         highest level of formal education. Seven of the seven members (100%) returned the
         assessment. The possible answers to the questions were Very High, High, Neutral, Low,
         and Very Low. The questions were as follows:

            1) Morale can be described as one’s emotional or mental condition with respect to
               cheerfulness, confidence, zeal, etc., especially in the face of opposition, hardship,
               etc… Which of these best describes your personal level of morale?


                                                                                        22 | P a g e

                                                                                       LCSO/Clark
                                                                                       DEF004407
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 137 of 141 PageID 1534


                  Lee County Sheriff’s Office
            2) Job satisfaction can be defined as how content an individual is with his or her job,
               in other words, whether or not they like the job or individual aspects of their
               position, such as nature of work. Which one of these best describes your level of
               job satisfaction?
            3) Worker happiness is that happiness that workers feel when they are satisfied with
               their job and work conditions. Which one of these best describes your level of
               worker happiness?
            4) Productivity can be defined as the quality, state, or fact of being able to generate,
               create, enhance, or bring forth goods and services. Which of these best describes
               your personal level of productivity?
            5) Which of these describes your highest level of formal education?

         The answers were as follows:
            1) Which of these best describes your personal level of morale?
                   a. Very High – 25%
                   b. High – 50%
                   c. Neutral – 25%
                   d. Low – 0%
                   e. Very Low – 0%
            2) Which of these best describes your level of job satisfaction?
                   a. Very High – 14%
                   b. High – 71%
                   c. Neutral – 14%
                   d. Low – 0%
                   e. Very Low – 0%
            3) Which of these best describes your level of worker happiness?
                   a. Very High – 13%
                   b. High – 75%
                   c. Neutral – 13%
                   d. Low – 0%
                   e. Very Low – 0%
            4) Which of these best describes your level of productivity?
                   a. Very High – 38%
                   b. High – 50%
                   c. Neutral – 13%
                   d. Low – 0%
                   e. Very Low – 0%
            5) Which of these best describes your current level of education?
                   a. Doctorate – 0%
                   b. Masters – 25%


                                                                                        23 | P a g e

                                                                                       LCSO/Clark
                                                                                       DEF004408
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 138 of 141 PageID 1535


                  Lee County Sheriff’s Office
                    c.   Bachelors – 24%
                    d.   Associates – 0%
                    e.   Some College – 38%
                    f.   HS Diploma – 13%
                    g.   GED – 0%

         This assessment showed that Purchasing employees have levels of morale, job
         satisfaction, worker happiness, and productivity ranged from neutral to very high.
         Productivity was noted at very high by 50% and high at 50%. It also showed that several
         employees had had attained a degree(s) at the level of postsecondary education.

         Note – Members are encouraged to take advantage of Lee County Sheriff’s Office
         benefits to obtain a low cost, high-quality education.

      4. Inspector Observations

         Sgt. Cintron made an unannounced visit to Purchasing, speaking to random personnel and
         observing their work habits. The personnel appeared to be very happy and comfortable
         in their positions. Sgt. Cintron observed that the atmosphere was friendly and
         welcoming. Sgt. Cintron noticed that the telephone was constantly ringing and the
         Purchasing Agents were working at the front counter assisting fellow employees.
         Additionally, Purchasing Agents were reviewing purchase orders and picking up
         COVID-19 supplies to handout to a fellow worker at the front counter. The employees
         were very outgoing and very attentive to Sgt. Cintron’s questions and needs. Sgt. Cintron
         felt very comfortable and welcomed by all of the employees.




                                                                                     24 | P a g e

                                                                                     LCSO/Clark
                                                                                     DEF004409
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 139 of 141 PageID 1536


                   Lee County Sheriff’s Office
   Conclusion
   Mission Conclusion

      1. Does Purchasing meet the agency's formal expectations?

         Yes.

      2. Does Purchasing practices and procedures ensure compliance with LCSO policies,
         procedures, and professional standards?

         Yes.

      3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
         Purchasing?

         There are no recognizable deficiencies in integrity, training, morale, policy, first line
         supervision, and personnel.

      4. Are resources adequate for achieving agency goals and objectives?

          Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
         pictures of stock items. The staffing resources are inadequate according to the workload
         analysis. The addition of two (2) Purchasing Agent allocations is recommended for the
         Purchasing Division.

      5. Are internal and external communications effective?

         Yes.

      6. Is there sufficient safety and security for personnel?

         Yes. There is sufficient safety and security for personnel, and the equipment provided
         meets and exceeds all operational and Accreditation standards.

      7. Are the written directives for this unit adequate?

         Yes. Written directives meet all State and Federal laws, and Accreditation Standards.

      8. Evaluation of the record keeping practices for organization, completeness, and ability to
         retrieve information.




                                                                                          25 | P a g e

                                                                                         LCSO/Clark
                                                                                         DEF004410
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 140 of 141 PageID 1537


                    Lee County Sheriff’s Office
          The record keeping practices of Purchasing are organized, complete, and the software
          available provides easy retrieval of information.

      9. Other Recommendations
         There are no other recommendations at this time.


      Objectives

      6. Does Purchasing comply with the law, policy, and CALEA standards? Yes.

      7. Is the Purchasing facility safety and security appropriate? Yes.

      8. Are equipment safety, and equipment needs met? Yes.

      9. Is adequate supervision assigned to Purchasing? Yes.

      10. Are adequate personnel assigned to Purchasing? No.

          Recommendation: The current staffing level is inadequate and it is recommended that two
          (2) additional Purchasing Agent positions be allocated.



   The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
   very high level of productivity according to all of the employees. Most of the personnel appear
   to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
   well liked by their employees. Nearly all of the staff showed high to very high levels of morale
   and job satisfaction.

   It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
   enforcement agency. The Purchasing Division is a very small unit with a group of very hard
   working and dedicated employees. With their expertise in purchasing goods and services for the
   department, the certified staff can focus on keeping the residents and visitors of Lee County safe




                                                                                            26 | P a g e

                                                                                           LCSO/Clark
                                                                                           DEF004411
Case 2:22-cv-00614-SPC-NPM Document 33-2 Filed 02/29/24 Page 141 of 141 PageID 1538


                   Lee County Sheriff’s Office
   References

   Lee County Sheriff’s Office (2020) Operations Manual: 2020. Fort Myers, FL: LCSO
   PowerDMS.

   Shane, J.M. (2009). What every chief executive should know: Using data to measure police
   performance. Flushing, NY: Loose-leaf Law Publications Inc.




                                                                                    27 | P a g e

                                                                                   LCSO/Clark
                                                                                   DEF004412
